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                    6    Specially Appearing For
                         KING & SPALDING LLP
                    7

                    8                                     UNITED STATES DISTRICT COURT
                    9                               NORTHERN DISTRICT OF CALIFORNIA
                  10

                  11     WHATSAPP INC., a Delaware                        Case No. 4:19-cv-07123-PJH
                         corporation, and FACEBOOK, INC., a
                  12     Delaware corporation,                            JOINT STIPULATION AND [PROPOSED]
                                                                          ORDER TO ENLARGE TIME FOR
                  13                        Plaintiffs,                   DEFENDANTS TO OPPOSE PLAINTIFFS’
                                                                          MOTION TO DISQUALIFY AND
                  14     v.                                               PLAINTIFFS’ REPLY IN SUPPORT OF
                                                                          THEIR MOTION TO DISQUALIFY
                  15     NSO GROUP TECHNOLOGIES
                         LIMITED and Q CYBER                              Date:      May 15, 2020
                  16     TECHNOLOGIES LIMITED,                            Courtroom: 3

                  17                        Defendants.                   Judge:        Hon. Phyllis J. Hamilton

                  18

                  19             Pursuant to Local Rules 6-1(b) and 6-2, Plaintiffs WhatsApp Inc. and Facebook, Inc.

                  20     (“Plaintiffs”) and Defendants NSO Group Technologies Limited and Q Cyber Technologies

                  21     Limited (“Defendants”) (collectively, the “Parties”), by and through their respective counsel,

                  22     stipulate and agree as follows:

                  23             WHEREAS, Plaintiffs filed an Administrative Motion to File a Motion to Disqualify

                  24     under seal on April 29, 2020;

                  25             WHEREAS, Plaintiffs seek disqualification based on King & Spalding’s prior

                  26     representation of WhatsApp in connection with a matter in another court which is sealed;

                  27             WHEREAS, the Department of Justice (“DOJ”) filed an Administrative Motion seeking

                  28     sealing of portions of the Motion to Disqualify to preserve the sealed nature of other court matter;
LONG & LEVIT LLP
465 CALIFORNIA STREET,
      5TH FLOOR                                                                          JOINT STIPULATION AND [PROPOSED] ORDER
    SAN FRANCISCO,                                                                                       CASE NO. 4:19-CV-07123-PJH
   CALIFORNIA 94104
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                    1            WHEREAS, the Court granted the administrative motions filed by Plaintiffs and the DOJ

                    2    on May 6, 2020, directed Plaintiffs to serve Defendants with an unredacted Motion to Disqualify

                    3    and ordered the briefing schedule to be set pursuant to Civil Local Rule 7-3 based on the date of

                    4    service of the unredacted motion;

                    5            WHEREAS, Defendants were served with an unredacted version of the Motion to

                    6    Disqualify on May 8, 2020. Declaration of Jessica MacGregor (“MacGregor Decl.”) ¶ 2;

                    7            WHEREAS, under Local Rule 7-3, Defendants’ opposition is due on or before May 22,

                    8    2020 and Plaintiff’s reply is due on or before May 29, 2020. Pursuant to the Court’s March 12,

                    9    2020 standing order, no hearing has been set as all civil motions will be decided on the papers

                  10     until further notice;

                  11             WHEREAS, Plaintiffs and Defendants must coordinate with the DOJ to enable it to seek

                  12     redactions and sealing of the opposition, reply and supporting declarations to be filed by the

                  13     Parties. MacGregor Decl. ¶ 3;

                  14             Whereas, the DOJ has communicated to Defendants that the DOJ requires three days to

                  15     review the to-be-filed materials in order to coordinate on redactions and prepare necessary

                  16     administrative motions to file materials under seal. MacGregor Decl. ¶ 4;

                  17             WHEREAS, the need to coordinate with the DOJ compresses Plaintiffs’ and Defendants’

                  18     briefing schedules; MacGregor Decl. ¶ 4;

                  19             WHEREAS, under Civil Local Rule 6-2(a), parties may file a stipulated request for an

                  20     order changing time in connection with any deadline that requires papers to be filed or lodged
                  21     with the Court;

                  22             WHEREAS, the Parties have conferred and agree that enlarging their time to

                  23     (respectively) oppose and reply in support of the Motion will allow the Parties sufficient time to

                  24     coordinate with the DOJ to ensure information related to and materials from the other district

                  25     court matter remain under seal. MacGregor Decl. ¶ 5-7;

                  26             WHEREAS, the Parties have been granted two previous time modifications in this case:
                  27     (1) Plaintiffs’ request to reschedule a Case Management Conference prior to service of the

                  28     summons and complaint on Defendants; and (2) a Joint Stipulation to Enlarge Time for Plaintiffs
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                                                                                         JOINT STIPULATION AND [PROPOSED] ORDER
      5TH FLOOR
    SAN FRANCISCO,
                                                                         -2-                             CASE NO. 4:19-CV-07123-PJH
   CALIFORNIA 94104
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                    1    to Oppose Defendants’ Motion to Dismiss. There have been no other modifications to deadlines

                    2    in this matter. MacGregor Decl. ¶ 8;

                    3             WHEREAS, the requested modification would only modify the briefing schedule for the

                    4    Motion to Disqualify and will not affect any other dates or deadlines pending before this Court, as

                    5    no case schedule has been set. MacGregor Decl. ¶ 9.

                    6             NOW, THEREFORE, the Parties jointly stipulate to and request that the Court enter an

                    7    order:

                    8             1.       Enlarging the time for Defendants to oppose Plaintiffs’ Motion one week,

                    9    extending their deadline to file their opposition to May 29, 2020.

                  10              2.       Enlarging the time for Plaintiffs to reply to Defendants’ opposition by one week,

                  11     extending their deadline to file their reply to June 12, 2020.

                  12

                  13              IT IS SO STIPULATED.

                  14

                  15     Dated: May 15, 2020.                                 COOLEY LLP
                  16

                  17                                                          By:      /s/ Kyle C. Wong
                                                                                    KYLE C. WONG
                  18                                                                Attorneys for Plaintiffs
                                                                                    WHATSAPP INC. and FACEBOOK, INC.
                  19

                  20     Dated: May 15, 2020.                                 LONG & LEVIT LLP
                  21

                  22                                                          By:      /s/ Jessica R. MacGregor
                                                                                    JESSICA R. MACGREGOR
                  23                                                                Specially Appearing For
                                                                                    KING & SPALDING LLP
                  24

                  25     4839-5227-8204, v. 1

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                                                                                             JOINT STIPULATION AND [PROPOSED] ORDER
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    SAN FRANCISCO,
                                                                           -3-                               CASE NO. 4:19-CV-07123-PJH
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